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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

PRISONERS LEGAL ADVOCACY                      )
NETWORK,                                      )
                                              )
        Plaintiff,                            )
                                              )
              v.                              ) C.A. No. 23-1397-MN
                                              )
THE HONORABLE JOHN CARNEY, in his )
official capacity as Governor of the State of )
Delaware, THE HONORABLE ANTHONY )
J. ALBENCE, in his official capacity as State )
Election Commissioner of the Delaware         )
Department of Elections, and, THE             )
HONORABLE TERRA TAYLOR, in her                )
official capacity as Acting Commissioner of   )
the Delaware Department of Correction,        )
                                              )
        Defendants.                           )


        DECLARATION OF EMILY S. DIBENEDETTO IN SUPPORT OF
  PLAINTIFF’S MOTION FOR EARLY PRELIMINARY INJUNCTION HEARING
 DATE, PRELIMINARY INJUNCTION, AND TEMPORARY RESTRAINING ORDER

I, Emily S. DiBenedetto, declare as follows:

   1. I am an associate at the law firm of Shaw Keller LLP, counsel for Prisoners Legal

       Advocacy Network (“PLAN” or “Plaintiff”). I am admitted to practice before this Court.

       I submit this declaration in support of Plaintiff’s Motion for Early Preliminary Injunction

       Hearing Date, Preliminary Injunction, and Temporary Restraining Order.

   2. Attached hereto as Exhibit 1 is a true and accurate copy of a Letter from Anthony

       Albence, State Election Commissioner, Delaware Department of Elections, to Dwayne J.

       Bensing, Legal Director, ACLU of Delaware (Sept. 20, 2022) (“September 2022 DDOE

       Letter”).
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 3. Attached hereto as Exhibit 2 is a true and accurate copy of a Letter from Terra Taylor,

    Acting Commissioner, Delaware Department of Correction, to ACLU of Delaware (Oct.

    26, 2023) (“October 2023 DDOC Letter”).

 4. Attached hereto as Exhibit 3 is a true and accurate copy of a Letter from Anthony

    Albence, State Election Commissioner, Delaware Department of Elections, to Andrew

    Bernstein, ACLU of Delaware (Oct. 27, 2023) (“October 2023 DDOE Letter”).

 5. Attached hereto as Exhibit 4 is a true and accurate copy of a Letter from Patricia A.

    Davis, State Solicitor, Delaware Department of Justice, to Dwayne J. Bensing, Legal

    Director, ACLU of Delaware (Nov. 2, 2022) (“November 2022 DDOJ Letter”).

 6. Attached hereto as Exhibit 5 is a true and accurate copy of a Letter from Dwayne J.

    Bensing, Legal Director, ACLU of Delaware, to Kathy Jennings, Attorney General of

    Delaware (Oct. 14, 2022).

 7. Attached hereto as Exhibit 6 is a true and accurate copy of a Letter from Andrew

    Bernstein, Cozen Voting Rights Fellow, ACLU of Delaware, to John Carney, Governor,

    State of Delaware; Anthony Albence, State Election Commissioner, Delaware

    Department of Elections; and Terra Taylor, Acting Commissioner, Delaware Department

    of Correction (Oct. 4, 2023).

 8. Attached hereto as Exhibit 7 is a true and accurate copy of a Letter from Dwayne J.

    Bensing, Legal Director, ACLU of Delaware, to Anthony Albence, State Election

    Commissioner, Delaware Department of Elections (Sept. 16, 2022).

 9. Attached hereto as Exhibit 8 is a true and accurate copy of a publication by Naila Awan,

    Jail-based polling locations: A way to fight voter disenfranchisement, PRISON POLICY

    INITIATIVE (Oct. 25, 2022).



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 10. Attached hereto as Exhibit 9 is a true and accurate copy of Delaware Department of

    Correction, Annual Report [2022], PLANNING, RESEARCH, AND REENTRY OFFICE IN THE

    OFFICE OF THE COMMISSIONER, (Jun. 30, 2022).

 11. Attached hereto as Exhibit 10 is a true and accurate copy of DOC FOIA Response (Oct.

    12, 2023).

 12. Attached hereto as Exhibit 11 is a true and accurate copy of Bail & Bail Bonds,

    DELAWARE COURTS, (https://courts.delaware.gov/help/bail/).

 13. Attached hereto as Exhibit 12 is a true and accurate copy of Pretrial Modernization

    Review: Per Senate Substitute 1 for Senate Bill 7: Focus on SB 7 Bail Reform,

    STATISTICAL ANALYSIS CENTER, (Jan. 2023).

 14. Attached hereto as Exhibit 13 is a true and accurate copy of a publication by Wendy

    Sawyer, How race impacts who is detained pretrial, PRISON POLICY INITIATIVE (Oct. 9,

    2019).

 15. Attached hereto as Exhibit 14 is a true and accurate copy of QuickFacts: Delaware, U.S.

    CENSUS BUREAU. (July 1, 2022).

 16. Attached hereto as Exhibit 15 is a true and accurate copy of 2024 State of Delaware

    Election Calendar, DELAWARE DEPARTMENT OF ELECTIONS: OFFICE OF THE STATE

    ELECTION COMMISSIONER, (Oct. 31, 2023).

 17. Attached hereto as Exhibit 16 is a true and accurate copy of 10 Reasons Courts Should

    Toss Florida’s Flimsy ‘Voter Fraud’ Prosecutions, BRENNAN CENTER FOR JUSTICE

    (updated May 12, 2023).




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   18. Attached hereto as Exhibit 17 is a true and accurate copy of a publication by Christopher

       Uggen, Locked Out 2022: Estimates of People Denied Voting Rights Due to a Felony

       Conviction, THE SENTENCING PROJECT, (Oct. 25, 2022).

   19. Attached hereto as Exhibit 18 is a true and accurate copy of a publication by Jack Healy,

       Arrested, Jailed and Charged With a Felony. For Voting., N.Y. TIMES, (Aug. 2, 2018).

   20. Attached hereto as Exhibit 19 is a true and accurate copy of a publication by Melissa

       Turtinen, 5 Minnesotans charged, accused of of [sic] voter fraud, BRING ME THE NEWSM

       (Dec. 30, 2021).

   21. Attached hereto as Exhibit 20 is a true and accurate copy of a publication by Brad

       Raffensperger, State Election Board Refers Voter Fraud Cases for Prosecution, GEORGIA

       SECRETARY OF STATE, (Sept. 11, 2020).

   22. Attached hereto as Exhibit 21 is a true and accurate copy of Florida elections officials

       grapple with misinformation, myths, CBS News Miami (Oct. 25, 2022).

   23. Attached hereto as Exhibit 22 is a true and accurate copy of an article by Jessica Masulli

       Reyes, Will Delaware end cash bail, DELAWARE ONLINE, (Nov. 6, 2015).

   24. Attached hereto as Exhibit 23 is a true and accurate copy of Scott Goss, Delaware's first

       new voting machines in decades are on their way, DELAWARE ONLINE, (Sept. 17, 2018).

   25. Attached hereto as Exhibit 24 is a true and accurate copy of a publication by Kristen M.

       Budd & Niki Monazzam, Increasing Public Safety by Restoring Voting Rights, THE

       SENTENCING PROJECT, (Apr. 2023).

   I declare under penalty of perjury that the foregoing is true and correct, and that this

declaration was executed on December 15, 2023.




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                                      /s/ Emily S. DiBenedetto
                                      Karen E. Keller (No. 4489)
                                      Emily S. DiBenedetto (No. 6779)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2023, this document was served on the persons listed

below in the manner indicated:

       BY HAND DELIVERY
       The Honorable Anthony J. Albence                The Honorable John Carney
       State of Delaware - Department of Elections     Governor Executive Office
       905 S. Governors Avenue, Suite 170              Tatnall Building
       Dover, DE 19904                                 150 Martin Luther King Jr. Blvd.
                                                       Dover, DE 19901
       The Honorable Terra Taylor
       Delaware Department of Correction
       Office of the Commissioner
       245 McKee Road
       Dover, DE 19904



                                                 /s/ Emily S. DiBenedetto
                                                 Karen E. Keller (No. 4489)
                                                 Emily S. DiBenedetto (No. 6779)
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